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  15                             UNITED STATES DISTRICT COURT
  16                            CENTRAL DISTRICT OF CALIFORNIA
  17
  18 UNITED TALENT AGENCY, LLC, a                     Case No. 2:21-cv-00369-MCS-E
     Delaware limited liability company,
  19                                                  Hon. Mark C. Scarsi
                    Plaintiff,
  20                                                  OPPOSITION TO MARKEL’S
          v.                                          MOTION FOR SUMMARY
  21                                                  JUDGMENT
     MARKEL AMERICAN INSURANCE
  22 COMPANY, a Virginia company; and                 Date: December 13, 2021
     DOES 1 through 10,                               Time: 9:00 a.m.
  23                                                  Dept.: 7C
                 Defendants.
  24                                                  Complaint filed: December 18, 2020
                                                      Removal filed: January 14, 2021
  25
  26
  27
  28

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   1 I.           Introduction
   2              Defendant Markel American Insurance Company seeks summary judgment
   3 based solely on two items: the insurance policy it sold to United Talent Agency
   4 (“UTA”) and the Second Amended Complaint that UTA’s competitor, Creative
   5 Artists Agency (“CAA”), filed in the Los Angeles Superior Court after several talent
   6 agents left CAA and began working for UTA (the “CAA Lawsuit”). Based on
   7 incomplete facts and incomplete statements of the law, Markel asks this Court to
   8 connect the dots on Markel’s behalf to “see for itself” why Markel should be entitled
   9 to deprive UTA of its day in court via summary judgment. Markel’s motion should
  10 be denied for several reasons.
  11              First, Markel’s reliance on the Policy’s Professional Services Exclusion is
  12 flawed. Contrary to the law governing insurance policy interpretation and to the
  13 decisions that have examined the exclusion’s language, Markel asserts an overly
  14 broad construction that deviates from the words Markel used in the exclusion and
  15 that would impermissibly expand the exclusion’s scope to swallow up all of the
  16 Policy’s coverage.
  17              Second, Markel makes a bare-bones argument, deceptive in its simplicity, to
  18 the effect that California Insurance Code section 533 bars UTA’s claims for
  19 coverage. In doing so, Markel asks this Court to ignore decades of binding
  20 precedent that requires insurers to pay for defense costs, regardless of the ultimate
  21 outcome of the litigation for which coverage is sought. Markel’s position further
  22 contradicts its own Policy’s requirement that it pay for defense costs until a non-
  23 appealable adjudication shows that UTA’s claims are, in fact, uninsurable. No
  24 tribunal ever rendered such a decision.
  25              Third, Markel seeks to avoid its duties by claiming that the relief that CAA
  26 sought from UTA was restitutive in nature and that California law prohibits
  27 insurance for restitution awards. However, CAA’s claims do not fall within the
  28 category of “restitution,” as that word has been interpreted in the insurance context.
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   1 Because CAA sought compensation for an expectancy to which it held no legal
   2 interest—future profits—that relief is “damages” (not “restitution”) for insurance
   3 purposes.
   4              Fourth, Markel hopes to avoid UTA’s bad faith claim by relying on its
   5 breach-of-contract arguments and also baldly asserting that its coverage denial was
   6 reasonable based on its self-serving interpretation of the law. This argument fails,
   7 however, because bad faith claims can exist independently of breach-of-contract
   8 claims, and there is ample evidence that Markel failed to execute its duties to handle
   9 UTA’s claim fairly and that it acted in a manner inconsistent with insurance industry
  10 customs, standards, and practices.
  11              Fifth, Markel does not even address UTA’s claim for declaratory relief, thus
  12 failing to make any effort—let alone to carry its heavy burden—to show entitlement
  13 to summary judgment.
  14              Sixth, Markel’s reliance solely on the Policy and CAA’s Second Amended
  15 Complaint in the CAA Lawsuit ignores three other arbitration proceedings that
  16 made up the rest of the dispute between CAA and UTA (the “Underlying Actions”).
  17 Markel cannot be entitled to summary judgment on all of UTA’s claims when it
  18 does not even address the totality of those claims.
  19              For each of these reasons, Markel’s motion must be denied.
  20 II.          Summary Judgment Standard
  21              In deciding Markel’s motion, all reasonable inferences from the evidence
  22 must be drawn in favor of UTA. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
  23 255 (1986); Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 456
  24 (1992) (non-movant’s “version of any disputed issue of fact thus is presumed
  25 correct”). Markel cannot prevail unless it “shows that there is no genuine dispute as
  26 to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
  27 R. Civ. P. 56(a). To do so, Markel must demonstrate that no genuine issue exists as
  28 to any material fact and must demonstrate an absence of evidence to support UTA’s
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   1 claims. See Celotex Corp. v. Catrett, 477 U.S. 317, 323–25 (1986). Markel falls well
   2 short of meeting its high burden.
   3 III.         The Professional Services Exclusion Does Not Bar Coverage
   4              Markel’s motion must be denied because it fails to address the language that
   5 Markel actually used in crafting the Professional Services Exclusion. That exclusion
   6 states that Markel
   7                       shall not be liable to pay any Loss on account of, and shall
   8                       not be obligated to defend, any Claim based upon, arising
   9                       out of, or in any way involving any actual or alleged error,
  10                       misstatement, misleading statement, act, omission,
  11                       neglect, or breach of duty in connection with the rendering
  12                       or failure to render any professional services to others for
  13                       a fee, commission or other compensation by any Insured.
  14 SGDMF No. 2.1 Markel instead focuses on cases that interpret other exclusions that
  15 are worded differently—and more broadly—than the exclusion that Markel wrote.
  16 For the reasons discussed below, Markel’s denial of coverage based on this
  17 exclusion was wrong, and Markel’s motion should be denied.
  18              A.       The CAA Lawsuit Does Not Meet the Professional Services
  19                       Exclusion’s Plain Terms
  20              Markel argues that “other courts have interpreted broad professional liability
  21 exclusions like the one at issue here very expansively and enforced them to preclude
  22 coverage for Claims . . . which flow from or have anything to do with the Insureds’
  23 Professional Services.” MSJ at 11. As discussed in greater detail below, the
  24 exclusion’s language does not address claims “which flow from or have anything to
  25 do with” professional services. If that is what Markel meant to say, it could (and
  26 should) have done so. Courts “are not to insert what [an insurer] has . . . omitted. To
  27
       1
      “SGDMF” refers to UTA’s Statement of Genuine Disputes of Material Facts, filed
  28 concurrently with this Opposition.
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   1 do so would violate the fundamental principle that in interpreting contracts,
   2 including insurance contracts, courts are not to insert what has been omitted.”
   3 Safeco Ins. Co. of Am. v. Robert S., 26 Cal. 4th 758, 764 (2001).
   4              Markel takes this “very expansive[]” argument several steps further still in
   5 addressing the fact that the Professional Services Exclusion only applies when UTA
   6 commits alleged wrongful acts “in connection with rendering or failing to render any
   7 professional services to others for a fee, commission or other compensation . . . .”
   8 SGDMF No. 2 (emphasis and underscoring added). Thus, there are three
   9 components that all must be present for this exclusion to apply: (i) Were
  10 professional services rendered?, (ii) To whom were they rendered?, and (iii) Did
  11 UTA collect a fee, commission or other compensation from rendering them?
  12              Markel asks this Court to skip this analysis, arguing, “[t]he sine qua non, the
  13 entire rationale of, and motivation for, the alleged scheme to steal CAA agents and
  14 clients, was the monetary value to UTA of the professional services UTA would
  15 render . . . .” MSJ at 13 (emphasis added). In other words, because recruiting agents
  16 and clients to come to UTA “would” eventually result in the rendering of
  17 professional services to clients, the exclusion applies. Markel is wrong.
  18                       1.   Markel Concedes That Professional Services Were Not Rendered
  19              Markel states that the reason for recruiting agents from CAA “was the
  20 monetary value to UTA of the professional services UTA would render . . . .” This
  21 usage of “would” is an auxiliary function “to express a plan or intention” or a “wish,
  22 desire, or intent.” Would, Merriam-Webster.com/dictionary/would. Accordingly, by
  23 its own argument, Markel acknowledges that the alleged acts giving rise to the CAA
  24 Lawsuit were not professional services, but rather were taken with the future intent
  25 to render professional services. Because professional services were not yet rendered,
  26 but merely contemplated, the exclusion does not apply.
  27              Furthermore, just because future professional services were contemplated
  28 does not mean that the alleged wrongful acts were committed “in connection with”
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   1 the rendering of those services. As UTA discusses in its motion for partial summary
   2 judgment, California law construes professional services exclusions narrowly, and
   3 courts across the country refuse to apply them unless the wrongful acts were
   4 committed as part of the professional services being rendered. See ECF No. 36-1 at
   5 pp. 14-19. Even if an insured committed wrongful acts while they were supposed to
   6 be providing professional services, unless the wrongful acts relate to the “adequacy
   7 of [the insured’s] performance of professional services to its client,” the exclusion
   8 does not apply. Food Pro Int’l, Inc. v. Farmers Ins. Exch., 169 Cal. App. 4th 976,
   9 990 (2008); accord Ambrosio v. Brit UW Ltd., 606 F. App’x 885, 887 (9th Cir.
  10 2015) (“the existence of some connection was insufficient to establish that the claim
  11 in Food Pro was excluded”).2
  12              Markel’s acknowledgement that the acts alleged in the CAA Lawsuit “would”
  13 eventually lead to professional services shows that they are not, in fact, professional
  14 services. Thus, the Professional Services Exclusion does not bar UTA’s claims.
  15                       2.   UTA Collected No Fee, Commission, or Other Compensation
  16              Markel does not and cannot plausibly argue that UTA recruited agents “for a
  17 fee, commission, or other compensation.” Instead, Markel argues that recruiting
  18 agents was motivated by the desire to increase UTA’s profitability, so the exclusion
  19 should apply. MSJ at 14. Were Markel’s argument adopted, nothing would escape
  20 the Professional Services Exclusion’s maw. If everything that UTA does in pursuit
  21 of profit is automatically considered done “in connection with” rendering
  22 professional services, then what would fall outside of Markel’s reading of the
  23 Professional Services Exclusion? Like most large companies, UTA leases office
  24 space, hires support staff, purchases office supplies and equipment, and does a litany
  25
       2
  26   As discussed in greater detail below, in Food Pro, the professional services
     exclusion contained broader wording that Markel appears now to wish it had put in
  27 its own Policy. Still, the court held it did not apply. See Food Pro, 169 Cal. App.
     4th at 981 (“arising out of the rendering or failure to render any professional
  28 services”).
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   1 of other activities whose ultimate aim is to increase profitability. That does not mean
   2 that each of those activities is done “in connection with” professional services. As
   3 the New York Court of Appeals explained when interpreting the scope of an errors-
   4 and-omissions policy:
   5                       The renting of an office, the engagement of employees,
   6                       arrangements to expand the size of one’s activities, these
   7                       may all have some connection with a covered business or
   8                       profession. But, while they may set the stage for the
   9                       performance of business or professional services, they are
  10                       not the professional activities contemplated by this special
  11                       coverage. An errors and omissions policy is intended to
  12                       insure a member of a designated calling against liability
  13                       arising out of the mistakes inherent in the practice of that
  14                       particular profession or business.
  15 Albert J. Schiff Assocs., Inc. v. Flack, 417 N.E. 2d 84, 88 (N.Y. 1980); see also
  16 Massamont Ins. Agency, Inc. v. Utica Mut. Ins. Co., 489 F.3d 71, 74 (1st Cir. 2007)
  17 (“business decision[s]” “like leasing a building, buying supplies or charging for
  18 services” are not “professional services”).
  19              UTA is a business whose purpose is to generate profits, and scarcely anything
  20 it does is entirely unrelated to that purpose. Markel’s proposed construction of the
  21 Professional Services Exclusion would sweep at least as broadly as the coverage
  22 grant. California law prohibits such an interpretation. Cal. Civ. Code § 1643
  23 (contracts must be construed in a manner to give them effect); MacKinnon v. Truck
  24 Ins. Exch., 31 Cal. 4th 635, 645-46 (2003) (refusing to enforce an exclusion in a way
  25 that would create absurd results); Safeco, 26 Cal. 4th at 765 (refusing to enforce an
  26 exclusion to render coverage “illusory”); Shade Foods, Inc. v. Innovative Prods.
  27 Sales & Mktg., Inc., 78 Cal. App. 4th 847, 868 (2000) (refusing to apply exclusions
  28 in a manner that would nullify coverage); Md. Cas. Co. v. Reeder, 221 Cal. App. 3d
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   1 961, 978 (1990) (courts must “avoid a construction under which a contracting party
   2 receives no benefit from a contract”).
   3              Even the broader language that Markel seems to wish it had put into its
   4 exclusion (discussed further below) must be construed narrowly to avoid vitiating
   5 coverage, which is contrary to Markel’s proposed construction. See Ticketmaster,
   6 LLC v. Ill. Union Ins. Co., 524 F. App’x 329, 330-31 (9th Cir. 2013) (subjecting
   7 exclusion’s “arising out of” language to “closest possible scrutiny” and adopting the
   8 reasonable interpretation that granted coverage over one that did not).
   9                       3.    The CAA Lawsuit Involved No Services Rendered to Others
  10              In the same way that the CAA Lawsuit arose from conduct that merely
  11 contemplated future professional services, that conduct was not undertaken on
  12 anyone’s behalf or for anyone’s benefit, other than UTA’s and the agents it sought
  13 to employ. UTA’s hiring decisions are for itself, not “for others,” as the Professional
  14 Services Exclusion requires. See Albert, 417 N.E. 2d at 88; cf. Massamont, 489 F.3d
  15 at 74.
  16              B.       Markel’s Interpretation Must Be Rejected Because It Strays from
  17                       the Exclusion’s Language
  18              Markel primarily argues that the CAA Lawsuit falls within the Professional
  19 Services Exclusion because UTA’s claim “aris[es] out of” “professional services.”
  20 This is incorrect. The exclusion applies only to claims that “arise out of” behavior
  21 “in connection with” “professional services.” That may sound technical, but
  22 “[w]ords matter, and [Markel] is the party that chose the words.” Bally v. State
  23 Farm Life Ins. Co., 2021 WL 1668004, at *9 (N.D. Cal. Apr. 28, 2021) (denying
  24 insurer’s motion for summary judgment on breach of contract claim).
  25              The Professional Services Exclusion’s relevant portion reads as follows:
  26                       [A]ny Claim based upon, arising out of, or in any way
  27                       involving any actual or alleged error, misstatement,
  28                       misleading statement, act, omission, neglect, or breach of
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   1                       duty in connection with the rendering or failure to render
   2                       any professional services . . . .
   3 SGDMF No. 2. Grammatically speaking, the Professional Services Exclusion
   4 contains five structural components: three are nounal (yellow below), and two are
   5 prepositional (blue below):
   6                       [A]ny Claim
   7                       based upon, arising out of, or in any way involving
   8                       any actual or alleged error, misstatement, misleading
   9                       statement, act, omission, neglect, or breach of duty
  10                       in connection with
  11                       the rendering or failure to render any professional
  12                       services . . . .
  13 Because prepositions describe relationships between nouns, it is apparent that
  14 “arising out of” does not apply to “the rendering or failure to render any professional
  15 services.” “[A]rising out of” describes the relationship between “any Claim” and the
  16 list of wrongful acts. Therefore, the exclusion’s first component addresses “any
  17 Claim” that “arises out of” those wrongful acts. When it comes to “professional
  18 services,” however, its relationship to the alleged wrongful acts is described by “in
  19 connection with.” Thus, Markel’s argument about UTA’s claim “arising out of”
  20 “professional services” is a house built on sand.
  21              Markel cites eight cases purportedly in support of its expansive interpretation.
  22 However, none of those cases analyzes the breadth of “in connection with.” Most of
  23 those decisions do not even contain that phrase. Only Medill v. Westport Ins. Corp.,
  24 143 Cal. App. 4th 819 (2006), gives it more than a mere mention, and that is
  25 because the policy at issue defined “‘[a]rising out of’” to mean “‘based upon, arising
  26 out of, or in connection with.’” Id. at 826. Markel did not include such a definition
  27 in the Policy but even if it had, “in connection with” must mean something different
  28 from—and narrower than—“arising out of.” As the Ninth Circuit has recognized,
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   1 “California Court of Appeal cases . . . demonstrate that ‘in connection with’ would
   2 not be given such a broad meaning in the context of a professional services policy
   3 exclusion.” Ambrosio, 606 F. App’x at 887. See also AIG Prop. Cas. Co. v. Cosby,
   4 892 F.3d 25, 28-29 (1st Cir. 2018) (Souter, J.) (comparing words an insurer used
   5 “side by side” provides an interpretive “key” to ascertain an exclusion’s meaning);
   6 Pac. W. Bank v. AIG Specialty Ins. Co., 2021 WL 5238578, at *3 (C.D. Cal. Sept.
   7 29, 2021) (different words contained in an exclusion “aid in the interpretation of the
   8 [e]xclusion as a whole”); Pardee Constr. Co. v. Ins. Co. of the W., 77 Cal. App. 4th
   9 1340, 1359 (2000), as modified on denial of reh’g (Feb. 23, 2000) (“the insurers’
  10 failure to use available language expressly excluding [certain coverage] implies a
  11 manifested intent not to do so”).
  12              In essence, Markel’s argument is based on a conflated exclusion that is not in
  13 the Policy. But that is not what its Professional Services Exclusion says, and the
  14 exclusion must be enforced as written. Courts do “not have the power to create for
  15 the parties a contract which they did not make.” Levi Strauss & Co. v. Aetna Cas. &
  16 Sur. Co., 184 Cal. App. 3d 1479, 1486 (1986), appeal dismissed, remanded, and
  17 ordered published, 737 P.2d 358 (Cal. 1987). Because Markel’s motion is premised
  18 on an interpretation that is contrary to the actual language in the Professional
  19 Services Exclusion, it must be denied.
  20              C.       When The Exclusion’s Words Are Heeded, Precedent Shows It
  21                       Does Not Apply
  22              The only case that Markel cites in its entire motion that uses language
  23 arguably similar to the Professional Services Exclusion at issue now is Jamison v.
  24 Certain Underwriters, 599 F. App’x 720 (9th Cir. 2015). Jamison, along with its
  25 companion Ambrosio, illustrates vividly why Markel is wrong.
  26              Both Jamison and Ambrosio arose from the collapse of a Ponzi scheme
  27 involving real estate investments, and both Jamison and Ambrosio were jilted
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   1 investors who sued to recover their lost investments.3 Both cases (along with several
   2 others) were settled for a cash payment and an assignment of rights under the
   3 schemers’ D&O insurance policy, and the investors went after the insurance assets.
   4              The D&O policy’s professional services exclusion read:
   5                       Underwriters shall not be liable to make any payment in
   6                       connection with any Claim . . . for any act, error or
   7                       omission in connection with the performance of any
   8                       professional services by or on behalf of the Company for
   9                       the benefit of any other entity or person.
  10 Ambrosio, 606 F. App’x at 887 (emphasis added); Appellants Opening Br. at 9,
  11 Jamison v. Certain Underwriters, No. 12-17412, ECF No. 12-1 (9th Cir. filed Mar.
  12 7, 2013) (emphasis added) (“Jamison Br.”). In Jamison, the alleged wrongful acts
  13 were (i) conspiring to operate and operating a Ponzi scheme, (ii) concealment of the
  14 scheme and other compromising financial positions when soliciting investments,
  15 and (iii) conversion of investment assets. Jamison Br. at 7.
  16              By contrast, Ambrosio additionally alleged that the schemers had violated
  17 securities laws by obtaining an additional unauthorized mortgage on the real estate
  18 assets subject to the plaintiffs’ investments. Ambrosio, 606 F. App’x at 887.
  19              The district court dismissed all the related complaints, including Jamison’s
  20 and Ambrosio’s, citing the professional services exclusion. Ambrosio v. Certain
  21 Underwriters, 2012 WL 12540015, at *8 (N.D. Cal. Mar. 29, 2012). The district
  22 court reasoned that “‘in connection with’” “sweeps more broadly than plaintiffs are
  23 willing to acknowledge,” applying to all conduct in the related actions, even though
  24 “it is true that the alleged acts cannot be literally equated with the sale of securities
  25 or financial advising.” Id.
  26
       3
  27  Compare First Am. Compl., Jamison v. Certain Underwriters, No. 11-cv-4958,
     ECF No. 45 (N.D. Cal.) with First Am. Compl., Ambrosio v. Certain Underwriters,
  28 No. 11-cv-4956, ECF No. 45 (N.D. Cal.).
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   1              On appeal, as Markel points out, the Ninth Circuit affirmed as to Jamison’s
   2 claims. Jamison, 599 F. App’x at 721. That makes some sense because the conduct
   3 that Jamison challenged concerned the soliciting and handling of the plaintiffs’
   4 investments—actions that fall squarely within the professional services that an
   5 investment company provides to its investors: to wit, “the sale of securities [and]
   6 financial advice.”4 Ambrosio, 2012 WL 12540015, at *8.
   7              However, as Markel fails to point out, the Ninth Circuit reversed as to
   8 Ambrosio’s additional allegations about violations of securities laws for the
   9 unauthorized encumbrance of investment property. Ambrosio, 606 F. App’x at 887.
  10 In doing so, the Ninth Circuit explained that California courts read “in connection
  11 with” more narrowly than “arising out of,” dispensing with the insurer’s argument
  12 that the two should be read equally and very broadly—the same argument Markel
  13 advances now. Id. Because the investment managers’ conduct in obtaining an
  14 additional mortgage on property did not involve the sale of securities or providing
  15 financial advice, that wrongful conduct was not “in connection with” the rendering
  16 of professional services, and the exclusion did not apply to Ambrosio’s claims. Id.
  17 Thus, Jamison—when read alongside Ambrosio—demonstrates the distinction that
  18 Markel asks this Court to ignore: while a professional services exclusion may apply
  19 to client-facing acts, other acts that “cannot literally be equated with” an insured’s
  20 professional services do not fall within the exclusion’s ambit.
  21              D.       Markel Cites No Supporting Case Law
  22              None of the cases that Markel cites supports its argument that the exclusion at
  23 issue in this case bars coverage for UTA’s claims. See MSJ at 11-12. Energy
  24
  25   4
      Jamison also alleged “secondary liability” against other persons and entities
  26 surrounding the Ponzi schemers for aiding and abetting the scheme. Jamison Br. at
     6. The Ninth Circuit’s opinion—brief as it is—focuses mainly on Jamison’s novel
  27 arguments that the acts of aiders and abettors, who were not insured under the
     policy, nevertheless should be covered. Unsurprisingly, the court disagreed.
  28 Jamison, 599 F. App’x at 721.
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   1 Insurance Mutual Ltd. v. ACE American Insurance Co., 14 Cal. App. 5th 281
   2 (2017), addressed the exclusion that Markel seems to wish it had written:
   3                       ‘This insurance does not apply to any liability arising out
   4                       of the providing or failing to provide any services of a
   5                       professional nature.’
   6 Id. at 291. That is not the language currently before this Court. In any event, Energy
   7 did not involve the interpretative rules that govern here. It was an equitable
   8 contribution dispute between insurers fighting over who would have to shoulder the
   9 cost of a settlement—not a dispute between an insured and its insurer. Id. at 289.
  10 California courts have long recognized the importance of this distinction:
  11                       [T]he rules with regard to equitable contribution among
  12                       insurers are different from those applicable to the
  13                       relationship between an insurer and its insured. . . . “‘Their
  14                       respective obligations flow from equitable principles
  15                       designed to accomplish ultimate justice in the bearing of a
  16                       specific burden. As these principles do not stem from
  17                       agreement between the insurers their application is not
  18                       controlled by the language of their contracts with the
  19                       respective policy holders.’”
  20 Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 65 Cal. App. 4th 1279, 1306-07
  21 (1998) (modification omitted) (quoting Signal Cos., Inc. v. Harbor Ins. Co., 27
  22 Cal. 3d 359, 369 (1980)). Accordingly, Energy simply does not apply.
  23              Markel next cites HotChalk, Inc. v. Scottsdale Insurance Co., 736 F. App’x
  24 646 (9th Cir. 2018). HotChalk addressed a much broader exclusion that is not before
  25 this Court. That exclusion applied to claims
  26                       ‘alleging, based upon, arising out of, attributable to,
  27                       directly or indirectly resulting from, in consequence of, or
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   1                       in any way involving the rendering or failing to render
   2                       professional services.’
   3 Id. at 648. The Professional Services Exclusion, which only applies to alleged
   4 wrongful acts “in connection with” professional services, is much narrower.
   5 Additionally, in HotChalk, the insured was a marketing, recruiting, hiring, and
   6 enrollment contractor for online university courses. Id. at 647. The False Claims Act
   7 lawsuit for which it sought coverage arose directly from its enrollment practices that
   8 violated federal law. Id. Accordingly, the underlying lawsuit clearly and
   9 unambiguously satisfied every possible interpretation of the professional services
  10 exclusion in that policy. But that is not this case. Here, UTA seeks coverage for
  11 claims arising out of the hiring of agents from a competitor agency. Unlike
  12 HotChalk, recruiting and hiring are not the services that UTA provides to its clients.
  13 See SGDMF Nos. 11-12.
  14              Burlington Insurance Co. v. Bay One Security, Inc., 2018 WL 1730425 (N.D.
  15 Cal. Apr. 10, 2018), is also of no help to Markel. It also dealt with a broader
  16 exclusion than the one Markel included in its policy:
  17                       ‘This insurance does not apply to “any injury or damage”
  18                       arising out of the rendering of or failure to render any
  19                       professional services by or for you.’
  20 Id. at *2. In Burlington, a car dealer contracted with the insured, which was obliged
  21 to render nighttime security services. Id. at *1. In the middle of the night, a thief
  22 broke into the car dealership, wandered around for a while, stole a BMW, and
  23 crashed it before Bay One’s security guard did anything. Id. at *1-*2. The car dealer
  24 sued Bay One, and in the resulting coverage action, the court unsurprisingly found
  25 that the claim “ar[ose] out of the . . . failure to render” “professional services.” Id.
  26 at *2. That uncontroversial finding sheds no light on the present case because the
  27 CAA Lawsuit resulted from circumstances that were not the provision of
  28 professional services to UTA’s clientele.
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   1              Markel’s last authority is an apt summary of all the defects described above
   2 (and more). Beazley Insurance Co., Inc. v. ACE American Insurance Co., 880 F.3d
   3 64 (2d Cir. 2018), was decided under New York law, and Markel does not attempt
   4 to discuss how that New York insurance law relates to California law, which
   5 governs this case. Beazley also involved the same broadly worded professional
   6 services exclusion that Markel wishes it had included, but did not, addressing claims
   7 “alleging, based upon, arising out of, or attributable to the rendering or failure to
   8 render professional services.” Id. at 67. The Beazley court also found that the
   9 parties that brought the underlying cases were the insured’s “customers,” which put
  10 the underlying cases squarely within the professional services exclusion, based on
  11 that exclusion’s wording. Id. at 69-70. Again, that is not the case here because the
  12 CAA Lawsuit was initiated by UTA’s competitor (not a “customer”). Additionally,
  13 Beazley was a case among insurers, sounding in equity, and did not necessarily
  14 address insurance contracts in the same manner as is proper in a case between an
  15 insured and insurer.
  16              In all, Markel (i) admits that professional services were not provided in the
  17 circumstances leading to the CAA Lawsuit, (ii) asks this Court to turn a blind eye to
  18 the words that Markel chose in drafting its Professional Services Exclusion,
  19 (iii) cites only part of Jamison when Jamison and Ambrosio, when read together,
  20 show Markel is wrong, and (iv) cites no authority that supports its interpretation of
  21 the exclusion that it actually wrote. Markel does not carry its burden as to the
  22 Professional Services Exclusion. Its motion should be denied.
  23 IV.          California Insurance Code Section 533 Does Not Bar Coverage
  24              Markel argues that “the Underlying Litigation is also uninsurable as a matter
  25 of law pursuant to California Insurance Code Section 533” because “[t]here is
  26 simply no way to read the [underlying] Complaint as alleging anything other than a
  27 willful scheme by UTA and its co-conspirators to harm CAA and enrich themselves
  28 by stealing CAA’s agents and clients in contravention of contracts, duties, and
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   1 laws.” MSJ at 15. Markel further argues, “There is no way for such claims to sound
   2 or for liability to attach in negligence,” “all of the alleged breaches of duty and
   3 contract are intentional,” and all the torts “are intentional” or “require knowledge of
   4 and intentional assistance to the willful wrongdoing.” Id. at 15-16. Rather than
   5 explaining why any of these assertions has any basis in law, Markel just says that
   6 “the Court can see for itself.” Id. This is not sufficient to carry Markel’s burden on
   7 summary judgment, and it is an incorrect statement of established California law
   8 regarding section 533.
   9              In UTA’s own motion for partial summary judgment, UTA described in detail
  10 why section 533 does not bar coverage in this case. ECF No. 36-1 at 19-26. As UTA
  11 explained there, there are four reasons why Markel is wrong. First, section 533 does
  12 not apply to the duty to pay defense costs; it only bars indemnifying intentional acts
  13 that were committed to cause harm. Gray v. Zurich Ins. Co., 65 Cal. 2d 263, 277
  14 (1966); Downey Venture v. LMI Ins. Co., 66 Cal. App. 4th 478, 507, 509 (1998); B
  15 & E Convalescent Ctr. v. State Comp. Ins. Fund, 8 Cal. App. 4th 78, 93, 101 (1992);
  16 accord St. Paul Fire & Marine Ins. Co. v. Weiner, 606 F.2d 864, 870 (9th Cir.
  17 1979).
  18              Second, the CAA Lawsuit alleged causes of action that do not require proof
  19 of willful conduct to establish liability. Section 533 does not preclude an insurer’s
  20 duty to defend or its duty to indemnify unless the plaintiff, “in order to prevail on
  21 his cause of action, would be required to show both an intentional act . . . and a
  22 specific intent to injure.” B & E, 8 Cal. App. 4th at 94. The CAA Lawsuit alleged
  23 claims for breach of fiduciary duty, breach of the duty of loyalty, aiding and abetting
  24 breaches of those duties, violations of California’s Unfair Competition Law, breach
  25 of contract, and breach of the implied covenant of good faith and fair dealing. See
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   1 SGDMF No. 3. None of these causes of action requires specific intent to injure in
   2 order to establish liability, so section 533 does not bar coverage for those claims.5
   3              Third, section 533 does not bar coverage for an institution like UTA unless its
   4 board of directors level management approved or ratified the allegedly willfully
   5 injurious conduct. Dart Indus., Inc. v. Liberty Mut. Ins. Co., 484 F.2d 1295, 1296-99
   6 (9th Cir. 1973); Downey, 66 Cal. App. 4th at 512; Lujan v. Gordon, 70 Cal. App. 3d
   7 260, 262 (1977). Because Markel has not established any action taken by UTA’s
   8 governing body to approve or ratify the conduct challenged in the CAA Lawsuit,
   9 section 533 does not preclude insurance coverage for UTA’s losses.
  10              Fourth, the Policy provides that acts that fall within section 533’s ambit are
  11 excluded from coverage only “if a final and non-appealable adjudication adverse to
  12 [an] Insured . . . establishes such a deliberately fraudulent act or omission or willful
  13 violation.” SGDMF No. 14. Of course, the CAA Lawsuit ended in a settlement and
  14 without any adjudication on the merits, so by the Policy’s own terms, Markel cannot
  15 escape its obligations by resorting to section 533. See Exec. Risk Specialty Ins. Co.
  16 v. Rutter Hobbs & Davidoff Inc., 2012 WL 12878754, at *7 (C.D. Cal. Sept. 12,
  17 2012) (section 533 and exclusion similar to Markel’s did not apply prior to a final
  18 judgment showing intent).
  19              Markel cites just two cases in arguing that section 533 should bar coverage.
  20 Neither establishes Markel is entitled to summary judgment—quite the opposite.
  21 Markel cites Downey for the proposition that “inherently harmful willful acts are
  22 uninsurable pursuant to California Insurance Code Section 533, and, to prevent
  23 disguised illegal indemnity, [an] insurer is prohibited from paying even a cost-of-
  24 defense settlement in such cases.” MSJ at 15. Even if this curt summary of a seminal
  25
  26   5
      See Mosier v. S. Cal. Physicians Ins. Exch., 63 Cal. App. 4th 1022, 1044 (1998)
  27 (breach of fiduciary duty); Lippitt v. Raymond James Fin. Servs., Inc., 340 F.3d
     1033, 1043 (9th Cir. 2003) (section 17200); Hamilton v. Greenwich Investors XXVI,
  28 LLC, 195 Cal. App. 4th 1602, 1614 (2011) (breach of contract).
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   1 insurance coverage case were correct, it does nothing to address the substantial case
   2 law—including from the California Supreme Court and Ninth Circuit, on the books
   3 since the 1960s and 70s—holding that defense costs are insurable notwithstanding
   4 section 533. For this reason alone, Markel’s motion should be denied. But Markel
   5 also failed to establish that it could avoid paying for defense costs without an
   6 adjudication showing that section 533 applied, as its Policy requires.
   7              Markel also relies on State Farm General Insurance Co. v. Mintarsih, 175
   8 Cal. App. 4th 274 (2009), stating “less than willful conduct that is inextricably
   9 intertwined with a scheme of willful misconduct is also uninsurable.” MSJ at 15.
  10 Again, this does not address the payment of defense costs or the Policy’s
  11 requirement that payments of defense costs must continue until an adjudication on
  12 the merits demonstrates a willfulness that renders the acts uninsurable.
  13              Moreover, Mintarsih’s conscience-shocking facts are so far afield from the
  14 business dispute in the CAA Lawsuit that it cannot guide the Court now. In that
  15 case, the insureds were accused of enslaving a domestic employee for seven years.
  16 175 Cal. App. 4th at 280. It is not a case where economic competitors vied for
  17 profits in a zero-sum market, as was the nature of the CAA Lawsuit. The willful
  18 wrongdoing that the Mintarsih court found polluted every cause of action in that
  19 case is not of the same nature as the present case. For instance, the CAA Lawsuit
  20 alleged breach of contract (see SGDMF No. 3), and a party alleging a breach of
  21 contract (without more) is only entitled to compensatory damages, not punitive
  22 damages, regardless of the circumstances surrounding that breach. Cal. Civ. Code
  23 § 3294. In any event, Markel does not try to explain how enslavement might
  24 correspond to the allegations in the CAA Lawsuit. On the contrary, binding
  25 precedent holds that when a cause of action does not require a finding of specific
  26 intent, section 533 does not bar payment of defense costs. B & E, 8 Cal. App. 4th at
  27 94.
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   1              Markel’s own authorities contradict Markel’s position. In Unified Western
   2 Grocers, Inc. v. Twin City Fire Insurance Co., 457 F.3d 1106, 1113-14 (9th Cir.
   3 2006), the Ninth Circuit held that section 533 does not bar claims for breaches of
   4 fiduciary duties, which were alleged in the CAA Lawsuit. In Unified, the insurer
   5 made the same argument that Markel advances now: the allegedly willful acts were
   6 “inseparably intertwined” from the causes of action that did not require scienter to
   7 impose liability. Id. at 1114. Unified dealt with allegations that were far worse than
   8 those alleged in the CAA Lawsuit: a scheme to defraud creditors, not simply a
   9 scheme to change employers. Id. And still, the Ninth Circuit refused to let the
  10 insurer off the hook, holding, “The damages alleged in the Underlying Complaint do
  11 not unavoidably originate from intentional and willful conduct by the insured,” and,
  12 “The presence of allegations in the Underlying Complaint that assert a broader
  13 scheme to defraud creditors does not automatically subsume all allegations of a
  14 negligent character into the sphere of willful conduct.” Id.
  15              Markel’s arguments are not only insufficient to carry its burden on summary
  16 judgment, but they are contradicted by overwhelming authorities dating back
  17 decades.
  18 V.           “Restitution”—In the Insurance Sense—Is Not at Issue Here
  19              Markel next argues that “the only monetary relief sought (apart from
  20 unspecified damages caused by UTA’s willful scheme . . . ) is
  21 restitution/disgorgement of ill-gotten gains, which is uninsurable under California
  22 law no matter how labeled.” MSJ at 16. Of course, this “apart from” clause is an
  23 admission that more than restitution and disgorgement were at issue in the CAA
  24 Lawsuit. Once again, Markel’s own argument belies its baselessness.
  25              But even accepting Markel’s telltale carve-out, “restitution” has a particular
  26 meaning in the context of insurance that should not be confused with other broader
  27 uses of the word to describe an award of money. “‘“Restitution” is an ambiguous
  28 term, sometimes referring to the disgorging of something which has been taken and
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   1 at times referring to compensation for injury done.’” People ex rel. Kennedy v.
   2 Beaumont Inv., Ltd., 111 Cal. App. 4th 102, 134 (2003), as modified on denial of
   3 reh’g (Sept. 9, 2003) (quoting John D. Calamari & Joseph M. Perillo, The Law of
   4 Contracts § 9-23 at 376 (3d ed. 1987) (“Often, the result under either meaning of the
   5 term would be the same”)) (emphasis added).
   6              In AIU Insurance Co. v. Superior Court, 51 Cal. 3d 807 (1990), the California
   7 Supreme Court specifically limited the definition of uninsurable “restitution” to
   8 forms of relief that are far narrower than what CAA sought through the CAA
   9 Lawsuit. In AIU, the insured faced liability for environmental contamination and
  10 was ordered to reimburse government agencies for the costs incurred in the
  11 subsequent cleanup. Id. at 815. Undertaking a nationwide survey of cases, the
  12 California Supreme Court refused to institute a regime that “would unreasonably
  13 make coverage hinge on the ‘mere fortuity’ of which recovery mechanism
  14 (injunction, reimbursement, or ‘damages to natural resources’) the government
  15 selects in enforcing CERCLA.” Id. at 819 (noting that “only one state appellate
  16 decision, in dictum, reache[d] the opposite conclusion”). Thus, the California
  17 Supreme Court held that reimbursement of government agencies’ response costs “is
  18 restitutive in that it attempts to restore to the agencies the value of a benefit
  19 constructively conferred on [the insured], . . . [but it] is not restitutive in the narrow
  20 sense . . . as inappropriate for insurance coverage.” Id. at 836. It then concluded the
  21 reimbursement was “damages” within the terms of the insurance policies. Id. at 837.
  22 Thus, when the cause of action seeks repayment because of harm, it does not matter
  23 if the theory of recovery is restitutive in nature for insurance purposes.
  24              Bank of the West v. Superior Court, 2 Cal. 4th 1254 (1992), which Markel
  25 cites, is an illustration of what “restitution” means in an insurance context—and it
  26 does not apply to the relief CAA sought in the CAA Lawsuit. In Bank, the bank
  27 faced consumer class actions that claimed that the bank had overcharged them with
  28 hidden fees, exorbitant fees, and penalties. 2 Cal. 4th at 1258-59. In other words, the
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   1 underlying plaintiffs claimed that the bank had taken money directly from them, and
   2 through their class action, they were trying to get that money back. That is a
   3 different sense of “restitution” than what was at issue in the CAA Lawsuit. In our
   4 case, CAA never gave anything to UTA; its theory of recovery was that it was
   5 damaged because the profits generated by the departing agents would benefit UTA,
   6 rather than CAA.
   7              None of the cases that Markel lists in its string citation to support its argument
   8 suggests that CAA claimed uninsurable relief. For instance, in Pan Pacific Retail
   9 Properties, Inc. v. Gulf Insurance Co., the Ninth Circuit reversed the district court’s
  10 finding that the settlement of derivative and direct claims against corporate directors
  11 were uninsurable restitution because it was conceivable that the settlement also
  12 encompassed “compensation for the individualized harm of the shareholders and not
  13 for the return of money wrongfully withheld by Appellants.” 471 F.3d 961, 969 (9th
  14 Cir. 2006). That court stated the rule in California as, “The insurance companies
  15 here were required to cover claims that sought compensation for a loss, even if the
  16 loss to the victim could also be construed as an ill-gotten benefit to the insured.” Id.
  17 at 966. Yet, that is the opposite of what Markel encourages the Court to hold now.
  18 CAA’s claim for “restitution” was that it lost future earnings when it lost agents.
  19 Even if it characterized that lost expectancy as UTA’s ill-gotten gains, Markel is not
  20 relieved of its obligations by calling CAA’s claims restitutive.
  21              Unified similarly provides no support for Markel’s position. In Unified, the
  22 Ninth Circuit reversed the insurer’s win on summary judgment because a question
  23 of fact existed as to whether the money at issue in the underlying dispute amounted
  24 to uninsurable restitution, or also included damages “in an amount greater than the
  25 amount of money actually alleged to have been taken by the Defendants.” 457 F.3d
  26 at 1115-16. Again, CAA did not allege that UTA took money from it. The entirety
  27 of CAA’s claimed loss was over and above the $0.00 that UTA received from CAA.
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   1              Neither Pan nor Unified addresses whether lost profits or lost market share—
   2 like those sought by CAA—are uninsurable in California, and the undersigned is
   3 aware of no such decision. On the contrary, in a matter of first impression, the
   4 California Court of Appeal recently held in the context of California’s Unfair
   5 Competition Law (which only permits restitution to consumers, not damages), “Lost
   6 profits are damages, not restitution . . . .” Lee v. Luxottica Retail N. Am., Inc., 65
   7 Cal. App. 5th 793, 797 (2021). “Simply put, . . . a plaintiff cannot recover
   8 anticipated but unearned, future income . . . in the guise of restitution because,
   9 absent a legally enforceable right to that stream of future income, the plaintiff lacks
  10 an ownership interest in it and thus there is nothing to ‘restore.’” Id. at 807.
  11              There is no reason why that rationale would result in a different conclusion
  12 now when considering the insurability of CAA’s claim for lost profits. See Jaffe v.
  13 Cranford Ins. Co., 168 Cal. App. 3d 930, 935 (1985) (“Although the concept of
  14 ‘restitution’ may have a broader meaning in other contexts,” a money award is
  15 uninsurable only when “[t]he defendant is asked to return something he wrongfully
  16 received,” not when “he is . . . asked to compensate the plaintiff for injury suffered
  17 as a result of his conduct”). The general rule is that decrease in income as a result of
  18 competitive behavior is an economic injury that can be remedied by the payment of
  19 money damages. See United Nat’l Maint., Inc. v. San Diego Convention Ctr. Corp.,
  20 2012 WL 3861946, at *8 (S.D. Cal. Sept. 5, 2012) (denying motion for permanent
  21 injunction and collecting cases). At the very least, this shows that UTA reasonably
  22 expected that CAA’s claims for lost profits would be covered, an expectation that
  23 must guide this Court. AIU, 51 Cal. 3d at 830.6
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  27   It is unclear what Markel intended to argue when it cited the remaining cases on
     the issue of restitution or disgorgement, MSJ at 16, but it is Markel’s burden to
  28 show its entitlement to summary judgment. This string citation falls well short.
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   1 VI.          UTA’s Bad Faith Claim Should Move Forward
   2              Markel argues that it is entitled to summary judgment on UTA’s cause of
   3 action for breach of the implied covenant of good faith and fair dealing because it is
   4 entitled to summary judgment on UTA’s breach of contract claims. MSJ at 17. As
   5 discussed above, that is not true, so that argument fails.
   6              The argument also fails because an insurer’s obligation to act reasonably and
   7 in good faith “‘is independent of the contract and attaches over and above the terms
   8 of the contract.’” Gruenberg v. Aetna Ins. Co., 9 Cal. 3d 566, 578 (1973) (in bank)
   9 (quoting Jones v. Kelly, 208 Cal. 251, 255 (1929)). While unreasonably denying
  10 insurance benefits is perhaps the clearest and most common set of circumstances
  11 underpinning bad faith claims, an insurer also acts in bad faith when it fails to act
  12 reasonably in processing and handling a claim. Id.; see also Egan v. Mut. of Omaha
  13 Ins. Co., 24 Cal. 3d 809, 819 (1979) (failing to reasonably investigate a claim is bad
  14 faith); Richardson v. Emp’rs Liab. Assurance Co., 25 Cal. App. 3d 232, 245 (1972)
  15 (an insurer acts in bad faith when it knows there is coverage but denies the claim
  16 anyway). “The insurer may not just focus on those facts which justify denial of the
  17 claim” because, “denial of a claim on a basis unfounded in the facts known to the
  18 insurer, or contradicted by those facts, may be deemed unreasonable.” Wilson v. 21st
  19 Century Ins. Co., 42 Cal. 4th 713, 721 (2007).
  20              Here, there are facts that tend to show that Markel acted in bad faith when it
  21 handled UTA’s claim for coverage. For instance, under California law, an insurer
  22 acts unfairly and unreasonably when it fails to state promptly all factual and legal
  23 bases for its denial of a claim. Cal. Ins. Code § 790.03(h)(13). Indeed, the insurer
  24 must do so within 40 days of receiving notice of a claim. 10 Cal. Regs. Code
  25 § 2695.7(b). Markel, however, denied coverage for UTA’s claim by letter dated
  26 April 16, 2015. In that letter, Markel made no mention of Insurance Code section
  27 533, even though it had been fully apprised of the nature of CAA’s claims against
  28 UTA and its employees. SGDMF No. 10. The first time that Markel’s purported
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   1 defense relying on that statute surfaced was in subsequent correspondence between
   2 legal counsel 544 days later, in a letter dated October 11, 2016. SGDMF No. 13.
   3 Asserting a new defense long after Markel was required to provide “all bases for
   4 [its] rejection or denial and the factual and legal bases for each reason given for such
   5 rejection or denial which is then within the insurer’s knowledge” (10 Cal. Regs.
   6 Code § 2695.7(b)(1)) is evidence of bad faith sufficient to overcome Markel’s
   7 motion for summary judgment as to this cause of action. See Reid v. Mercury Ins.
   8 Co., 220 Cal. App. 4th 262, 275-76 (2013) (reversing grant of summary judgment
   9 because violations of fair claims settlement laws can be evidence of bad faith, even
  10 though there is no private right of action to enforce those laws).
  11              Markel further argues that “there was at most a genuine dispute as to the law
  12 regarding which MAIC’s position is at the very least reasonable . . . .” MSJ at 17.
  13 However, “[i]t is doubtful that the so-called ‘genuine dispute doctrine’ applies in
  14 third party duty to defend cases.” Mt. Hawley Ins. Co. v. Lopez, 215 Cal. App. 4th
  15 1385, 1424 (2013); Howard v. Am. Nat’l Fire Ins. Co., 187 Cal. App. 4th 498, 530
  16 (2010) (“It has never been held that an insurer in a third party case may rely on a
  17 genuine dispute over coverage to refuse settlement.”). And, regardless of Markel’s
  18 beliefs, there is evidence that contradicts its position that it acted appropriately.
  19 Indeed, Markel’s interpretation of the Professional Services Exclusion and reliance
  20 on section 533 are patently unreasonable, unjustified, and contrary under the
  21 customs, standards, and practices in the insurance industry. See SGDMF Nos. 6-8.
  22              Taken in their totality, the fact that Markel failed to raise section 533 timely,
  23 the fact that it was raised post-denial by counsel, and the fact that an expert in
  24 claims handling and insurer conduct is of the opinion that reliance on the
  25 Professional Services Exclusion and section 533 contravene basic industry customs,
  26 standards, and practices tend to show that Markel has erected unreasonable obstacles
  27 to coverage, rather than performing a good faith attempt to honor its promises of
  28 coverage by seeking out all possible bases to support UTA’s claim—as is its duty.
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   1 Wilson, 42 Cal. 4th at 721. These circumstances demonstrate that there is a genuine
   2 issue of material facts as to UTA’s cause of action for breach of the implied
   3 covenant of good faith and fair dealing. Shade, 78 Cal. App. 4th at 915 (“a shifting
   4 position with respect to coverage might strengthen an inference of bad faith”).
   5 Markel’s motion must be denied. See Reid, 220 Cal. App. 4th at 275-76.
   6 VII. Markel Fails to Address UTA’s Declaratory Relief Claim
   7              Markel does not address UTA’s third cause of action for declaratory relief,
   8 and accordingly, it has failed to carry its burden to show it is entitled to summary
   9 judgment as to this cause of action.
  10 VIII. Markel Fails to Address UTA’s Claims for Coverage for the Underlying
  11              Arbitrations
  12              “MAIC’s Motion for Summary Judgment is based solely and entirely on the
  13 contents of two documents . . . : (1) the Policy . . . ; and, (2) the operative
  14 Underlying Litigation Second Amended Complaint . . . .” MSJ at 7. While these
  15 documents are integral to UTA’s claims for coverage, they are not comprehensive.
  16 UTA did not claim coverage solely for the case that CAA filed in the Los Angeles
  17 Superior Court; it also claimed coverage for three arbitrations against UTA
  18 employees. SGDMF No. 9. Because Markel does not address the arbitrations at all,
  19 it presents no evidence or argument whatsoever to support its claim for summary
  20 judgment as to these central components of UTA’s claim.
  21              Additionally, although CAA’s Second Amended Complaint is important to
  22 Markel’s ongoing duties to evaluate the potential for coverage, see Horace Mann
  23 Ins. Co. v. Barbara B., 4 Cal. 4th 1076, 1081 (1993), that pleading was filed after
  24 Markel denied coverage. SGDMF Nos. 10, 15. Therefore, the Second Amended
  25 Complaint cannot serve as the evidentiary totality of Markel’s duties under the
  26 Policy or its reasonableness in considering and handling UTA’s claim for coverage.
  27 Failing to carry its burden, Markel’s motion must be denied.
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   1 IX.          Conclusion
   2              Markel does not carry its burden as to any aspect of its claimed entitlement to
   3 summary judgment. Its arguments about the Professional Services Exclusion are
   4 unfaithful to the law and to the exclusion’s plain language (and to a reasonable
   5 interpretation of that language). Its reasoning about section 533 sidesteps decades of
   6 case law to the contrary. Its attempt to avoid bad faith liability also is contradicted
   7 by competent evidence. And Markel failed to address large portions of UTA’s claim
   8 for insurance coverage, as well as an entire cause of action alleged in the complaint.
   9 For all these reasons, Markel’s motion should be denied.
  10
  11 DATED: November 22, 2021                   PASICH LLP
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                                             By: /s/ Michael S. Gehrt
  13                                             Michael S. Gehrt
  14                                            Attorneys for Plaintiff
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